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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 In the Matter of the Federal Bureau of Prisons’
 Execution Protocol Cases,

 LEAD CASE: Roane et al. v. Barr

 THIS DOCUMENT RELATES TO:                                     Case No. 19-mc-0145 (TSC)

 Lee & Honken v. Barr et al., 19-cv-2559

 Purkey v. Barr et al., 19-cv-3214

 Nelson v. Barr et al., 20-cv-557


       PLAINTIFF DUSTIN HONKEN’S EMERGENCY MOTION FOR STAY OF
                   EXECUTION PENDING CROSS-APPEAL

       Plaintiff Dustin Honken is scheduled for execution on July 17. Pursuant to Fed. R. Civ. P.

62(d), Fed. R. App. P. 8(a)(1), and 28 U.S.C. § 1651, Mr. Honken respectfully moves the Court

to stay his execution pending his cross-appeal of the Court’s order partially granting and partially

denying his motion for preliminary injunction. See Dkt. # 145, 146. Mr. Honken intends to

appeal the Court’s ruling insofar as it denied a preliminary injunction on the ground that the 2019

Protocol is arbitrary and capricious under the Administrative Procedure Act. See Dkt. #145 at 7-

10. He therefore seeks a stay of his execution in order to preserve the status quo, so that his

appeal may be fully and fairly litigated rather than becoming moot by his execution. “It is well-

settled that a court retains the power to grant injunctive relief to a party to preserve the status quo

during the pendency of an appeal[.]” Hawaii Hous. Auth. v. Midkiff, 463 U.S. 1323, 1324 (1983).

                                            Background

       Counsel assume the Court’s familiarity with recent proceedings in this matter, as well as

previous litigation on preliminary injunctions. Of relevance here, the Court’s order of July 15



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granted a preliminary injunction on Plaintiffs Purkey, Honken, and Nelson’s claim that the 2019

Protocol violates the Food, Drug, and Cosmetic Act. Dkt. #145 at 12-13. The Court also

concluded that the balance of relevant factors justified preliminary injunctive relief. Id. at 15-18.

The Court later declined the Government’s request to stay the injunction – see Minute Order of

July 15, 2020 – and the court of appeals also denied the Government’s motion to stay or vacate

it. See In re Federal Bureau of Prisons’ Execution Protocol Cases, No. 20-5206 (D.C. Cir. July

15, 2020). Several hours later, however, the Supreme Court vacated the preliminary injunction

on the Government’s application. See Barr v. Purkey, --- S. Ct. ---, No. 20A10 (U.S. July 16,

2020).

         Although Plaintiffs argued the arbitrary-and-capricious claim as an alternative basis for

affirming the Court’s injunctive relief on the FDCA claim, the arbitrary-and-capricious claim has

not been resolved other than by this Court. Specifically, neither the D.C. Circuit nor the Supreme

Court addressed the arbitrary-and-capricious claim in yesterday’s rulings. That result is

unsurprising, and the claim remains viable on Mr. Honken’s cross-appeal. See Sherley v.

Sebelius, 644 F.3d 388, 397-98 (D.C. Cir. 2011) (declining to “uphold[] a preliminary injunction

based on a legal theory not embraced by the district court”).

                                             Argument

         Stays of execution, preliminary injunctions, and stays pending appeal are governed by

similar standards. The propriety of a stay depends on (1) whether the stay applicant has made a

strong showing that (s)he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the

other parties interested in the proceeding; and (4) where the public interest lies. Nken v. Holder,

556 U.S. 418, 434 (2009); accord Hill v. McDonough, 547 U.S. 573, 584 (2006) (likelihood of




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success on the merits, relative harm to the parties, absence or presence of procedural delay).

Before seeking equitable relief in the appellate court pending an appeal, a party must ordinarily

move the district court for the same relief first. See Fed. R. App. P. 8(a)(1)(C).

       Plaintiff Honken is likely to succeed on the merits of his claim that the 2019 Protocol is

arbitrary and capricious. See Dkt. #102 at 5-20; Dkt. #118 at 2-8. With respect, Mr. Honken

disagrees with the Court’s ruling that the APA claim is precluded “by the Supreme Court’s

holding that, given Defendants’ contention that pulmonary edema occurs post-mortem or after

the inmate has been rendered insensate, this risk does not justify last-minute judicial

intervention.” Dkt. #145 at 8 (citing Barr v. Lee, --- S. Ct. ---, No. 20A8, 2020 WL 3964985, at

*2 (U.S. July 14, 2020)). Lee held only that, given the conflicting evidence about pulmonary

edema, Plaintiffs had not made the showing required for a preliminary injunction on Eighth

Amendment grounds. That holding has no bearing on whether Defendants were obligated to

consider the risk of flash pulmonary edema when they made the decision to select pentobarbital

as the execution drug. Neither, as a general matter, does the Eighth Amendment have anything to

do with whether an agency has “entirely failed to consider [an] important aspect of the problem.”

Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020). If the

absence of a viable Eighth Amendment claim precluded such an APA inquiry, then APA review

itself would be a dead letter.

       The remaining factors counsel in favor of a stay, as the Court has already held. Mr.

Honken would suffer irreparable harm by being “executed before [his] claims can be fully

adjudicated,” Dkt. 145 at 15-16, including a claim that his execution would be illegal under the

APA. See 5 U.S.C. § 706(2) (court must “hold unlawful and set aside” agency action that is

“arbitrary, capricious, [or] an abuse of discretion”). The balance of equities also favors a stay. As




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the Court has explained, (a) the last-minute nature of these proceedings and the resulting costs to

the Government are largely of the Defendants’ creation by scheduling execution dates as they

have, (b) the Government’s interest in a prompt execution is diminished by the eight years it

spent developing an execution protocol, and (c) Mr. Honken has not delayed his APA claim, and

indeed, he first asserted it in his intervention-complaint on Nov. 1, 2019, as well as in his initial

motion for preliminary injunction four days later. Dkt. #29 at 26-34; Dkt. #145 at 16-17.

Otherwise stated, “the potential harm to the government caused by a delayed execution is not

substantial, and is far outweighed by the irreparable harm Plaintiffs would face absent an

injunction.” Dkt. #145 at 17. Finally, Mr. Honken agrees with the Court that “the public interest

is not served by executing individuals before they have had the opportunity to avail themselves

of the legal process to challenge the legality of their executions.” Id. at 17.

                                             Conclusion

       For the foregoing reasons, Plaintiff Dustin Honken respectfully moves that the Court stay

his scheduled execution pending his cross-appeal of the Court’s orders of July 15, 2016 (Dkt.

#145, 146).


DATED: July 16, 2020                                   /s/ Shawn Nolan
                                                       Shawn Nolan, Chief, Capital Habeas Unit
                                                       Timothy Kane, Assistant Federal Defender
                                                       Federal Community Defender Office for
                                                         the Eastern District of Pennsylvania
                                                       601 Walnut Street, Suite 545 West
                                                       Philadelphia, PA 19106
                                                       Telephone – 215-928-0520
                                                       timothy_kane@fd.org
                                                       shawn_nolan@fd.org

                                                       Counsel for Plaintiff Dustin Lee Honken




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

have no email provided on the docket or are no longer with the identified firms.

 Alan Burch                                       Paul R. Perkins
 U.S. Attorney’s Office for the District of       Civil Division, Department of Justice
 Columbia                                         (202) 514-5090
 (202) 252-2550                                   Email: Paul.R.Perkins@usdoj.gov
 Email: alan.burch@usdoj.gov
                                                  Jonathan Kossak
 Peter S. Smith                                   Civil Division, Department of Justice
 United States Attorney's Office                  (202) 305-0612
 Appellate Division                               Email: Jonathan.kossak@usdoj.gov
 (202) 252-6769
 Email: peter.smith@usdoj.gov                     Denise M. Clark
                                                  U.S. Attorney’s Office for the District of
 Ethan P. Davis                                   Columbia
 Civil Division, U.S. Department of Justice       (202) 252-6605
 (202) 514-7830                                   Email: Denise.Clark@usdoj.gov
 Email: Ethan.P.Davis@usdoj.gov
                                                  Jean Lin
 Robert J. Erickson                               Civil Division, Department of Justice
 US Department of Justice                         (202) 514-3716
 (202) 514-2841                                   Jean.lin@usdoj.gov
 Email: Robert.erickson@usdoj.gov
                                                  Cristen Cori Handley
 Joshua Christopher Toll                          Civil Division, Department of Justice
 KING & SPALDING LLP                              (202) 305-2677
 (202) 737-8616                                   Cristen.Handley@usdoj.gov
 Email: jtoll@kslaw.com
                                                  Paul F. Enzinna
 Charles Anthony Zdebski                          ELLERMAN ENZINNA PLLC
 ECKERT SEAMANS CHERIN &                          (202) 753-5553
 MELLOTT, LLC                                     Email: penzinna@ellermanenzinna.com
 (202) 659-6605
 Email: czdebski@eckertseamans.com                Brandon David Almond
                                                  TROUTMAN SANDERS LLP
                                                  (202) 274-2864
                                                  Email: brandon.almond@troutmansanders.com
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Gerald Wesley King, Jr.              Donald P. Salzman
FEDERAL DEFENDER PROGRAM, INC.       SKADDEN, ARPS, SLATE, MEAGHER &
(404) 688-7530                       FLOM LLP
Email: gerald_king@fd.org            (202) 371-7983
Charles Fredrick Walker              Email: Donald.salzman@skadden.com
SKADDEN, ARPS, SLATE, MEAGHER &
FLOM LLP                             Steven M. Albertson
(202) 371-7000                       SKADDEN, ARPS, SLATE, MEAGHER &
Email: Charles.Walker@skadden.com    FLOM LLP
                                     (202) 371-7112
Celeste Bacchi                       Email: Steven.Albertson@skadden.com
OFFICE OF THE PUBLIC DEFENDER
Capital Habeas Unit                  Craig Anthony Harbaugh
(213) 894-1887                       FEDERAL PUBLIC DEFENDER, CENTRAL
Email: celeste_bacchi@fd.org         DISTRICT OF CALIFORNIA
                                     (213) 894-7865
Jonathan Charles Aminoff             Email: craig_harbaugh@fd.org
FEDERAL PUBLIC DEFENDER,
CENTRAL DISTRICT OF CALIFORNIA       Alexander Louis Kursman
(213) 894-5374                       OFFICE OF THE FEDERAL COMMUNITY
Email: jonathan_aminoff@fd.org       DEFENDER/EDPA
                                     (215) 928-0520
Billy H. Nolas                       Email: Alex_Kursman@fd.org
FEDERAL COMMUNITY DEFENDER
OFFICE FOR THE EDPA                  Kathryn B. Codd
(215) 928-0520                       VINSON & ELKINS LLP
Email: Billy_Nolas@fd.org            (202) 639-6536
                                     Email: kcodd@velaw.com
*Jeanne Vosberg Sourgens
VINSON & ELKINS LLP                  Robert E. Waters
(202) 639-6633                       VINSON & ELKINS, L.L.P.(202) 737-0500
                                     Email: rwaters@velaw.com
William E. Lawler, III
VINSON & ELKINS LLP                  Yousri H. Omar
(202) 639-6676                       VINSON & ELKINS LLP
Email: wlawler@velaw.com             (202) 639-6500
                                     Email: yomar@velaw.com
Evan D. Miller
VINSON & ELKINS LLP                  *William E. Hoffman, Jr.
(202) 639-6605                       KING & SPALDING LLP
Email: EMiller@velaw.com             (404) 572-3383

Margaret O’Donnell                   Mark Joseph Hulkower
(502) 320-1837                       STEPTOE & JOHNSON LLP
Email: mod@dcr.net                   (202) 429-6221
                                     Email: mhulkower@steptoe.com
      Case 1:19-mc-00145-TSC Document 164 Filed 07/16/20 Page 7 of 9




Abigail Bortnick                          Robert A. Ayers
KING & SPALDING LLP                       STEPTOE & JOHNSON LLP
(202) 626-5502                            (202) 429-6401
Email: abortnick@kslaw.com                Email: rayers@steptoe.com

Matthew John Herrington                   Robert L. McGlasson
STEPTOE & JOHNSON LLP                     MCGLASSON & ASSOCIATES, PC
(202) 429-8164                            (404) 314-7664
Email: mherrington@steptoe.com            Email: rlmcglasson@comcast.net

Amy J. Lentz                              Sean D. O’Brien
STEPTOE & JOHNSON LLP                     PUBLIC INTEREST LITIGATION CLINIC
(202) 429-1320                            (816) 363-2795
Email: Alentz@steptoe.com                 Email: dplc@dplclinic.com

Gary E. Proctor                           Shawn Nolan
LAW OFFICES OF GARY E. PROCTOR,           FEDERAL COMMUNITY DEFENDER
LLC                                       OFFICE, EDPA
(410) 444-1500                            (215) 928-0520
Email: garyeproctor@gmail.com             Email: shawn.nolan@fd.org

Scott Wilson Braden                       Joseph William Luby
FEDERAL PUBLIC DEFENDER,                  FEDERAL PUBLIC DEFENDER/EDPA
EASTERN DISTRICT OF ARKANSAS              (215) 928-0520
(501) 324-6144                            Email: joseph_luby@fd.org
Email: Scott_Braden@fd.org
                                          Pieter Van Tol
Amy Gershenfeld Donnella                  HOGAN LOVELLS US LLP
FEDERAL COMMUNITY DEFENDER                (212) 918-3000
OFFICE FOR THE EDPA                       Email: Pieter.Vantol@hoganlovells.com
(215) 928-0520
Email: amy_donnella@fd.org                Jonathan Jeffress
                                          KAISER DILLON, PLLC
David Victorson                           (202) 640-2850
(202) 637-5600                            Email: Jjeffress@kaiserdillon.com
HOGAN LOVELLS US LLP
Email: David.Victorson@hoganlovells.com   Andrew Moshos
                                          MORRIS NICHOLS ARSHT & TUNNELL
John D. Beck                              LLP
HOGAN LOVELLS US LLP                      (302) 351-9197
(212) 918-3000                            Email: Amoshos@mnat.com
Email: john.beck@hoganlovells.com
                                          Alan E. Schoenfeld
Amelia J. Schmidt                         WILMER CUTLER PICKERING HALE &
KAISER DILLON, PLLC                       DORR LLP
(202) 869-1301                            (212) 937-7294
      Case 1:19-mc-00145-TSC Document 164 Filed 07/16/20 Page 8 of 9




Email: Aschmidt@kaiserdillon.com       Email: Alan.Schoenfeld@wilmerhale.com

Norman Anderson                        Kathryn Louise Clune
KAISER DILLON PLLC                     CROWELL & MORING LLP
(202) 640-2850                         (202) 624-5116
Email: nanderson@kaiserdillon.com      Email: kclune@crowell.com

Jennifer Ying                          Jennifer M. Moreno
MORRIS NICHOLS ARSHT & TUNNELL         OFFICE OF THE PUBLIC FEDERAL
LLP                                    DEFENDER, DISTRICT OF ARIZONA
(302) 658-9300                         (602) 382-2718
Email: Jying@mnat.com                  Email: Jennifer_moreno@fd.org

Andres C. Salinas                      Ginger Dawn Anders
WILMER CUTLER PICKERING HALE &         MUNGER, TOLLES & OLSON LLP
DORR LLP                               (202) 220-1107
(202) 663-6289                         Email: Ginger.anders@mto.com
Email: Andres.Salinas@wilmerhale.com
                                       *Jonathan S. Meltzer
*Ryan M. Chabot                        MUNGER, TOLLES & OLSON LLP
WILMER CUTLER PICKERING HALE &         (202) 220-1100
DORR LLP
(212) 295-6513                         *Brendan Gants
Email: Ryan.Chabot@wilmerhale.com      MUNGER, TOLLES & OLSON LLP
                                       (202) 220-1100
Dale Andrew Baich
OFFICE OF THE FEDERAL PUBLIC           *Timothy Kane
DEFENDER                               FEDERAL COMMUNITY DEFENDER
(602) 382-2816                         OFFICE, EDPA
Email: Dale_Baich@fd.org               (215) 925-0520

Harry P. Cohen                         Jeffrey Lyn Ertel
CROWELL & MORING LLP                   FEDERAL DEFENDER PROGRAM, INC.
(212) 223-4000                         (303) 688-7530
Email: hcohen@crowell.com              Email: Jeff_Ertel@fd.org

Michael K. Robles                      Stephen Northup
CROWELL & MORING LLP                   TROUTMAN SANDERS LLP
(212) 223-4000                         (804) 697-1240
Email: mrobles@crowell.com             Email: steve.northup@troutmansanders.com

James Stronski
CROWELL & MORING LLP                   Danielle Desaulniers Stempel
(212) 223-4000                         HOGAN LOVELLS US LLP
Email: jstronski@crowell.com           (202) 804-7798
                                       Email: danielle.stempel@hoganlovells.com
     Case 1:19-mc-00145-TSC Document 164 Filed 07/16/20 Page 9 of 9




*Jon M. Sands
OFFICE OF THE PUBLIC FEDERAL
DEFENDER, DISTRICT OF ARIZONA
(602) 382-2816

*Amy Karlin
INTERIM FEDERAL PUBLIC DEFENDER
(213) 894-2854




                                            /s/ Shawn Nolan
                                            Shawn Nolan
